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&lt;br&gt;&lt;br&gt;&lt;div align="center"&gt;&lt;b&gt;&lt;font size="+1"&gt;Bronx Acupuncture Therapy, P.C., as Assignee of Lavar Chisolm, Respondent, 

&lt;br&gt;&lt;br&gt;against&lt;br&gt;&lt;br&gt;MVAIC, Appellant. &lt;/font&gt;&lt;/b&gt;&lt;/div&gt;&lt;br&gt;&lt;br&gt; 

 

 

 

&lt;p&gt; 

Marshall &amp;amp; Marshall, PLLC (Jeffrey Kadushin of counsel), for appellant. 

Gary Tsirelman, P.C. (Evan Polansky of counsel), for respondent. 

&lt;/p&gt; 

&lt;p&gt;Appeal from a judgment of the Civil Court of the City of New York, Kings County (Devin P. Cohen, J.), entered June 30, 2016. The judgment, after a nonjury trial, awarded plaintiff the principal sum of $1,420.&lt;/p&gt; 

 

 

 

 

&lt;p&gt;ORDERED that the judgment is reversed, with $30 costs, and the matter is remitted to the Civil Court for the entry of a judgment in favor of defendant dismissing the complaint.&lt;/p&gt; 

&lt;p&gt;After a nonjury trial in this action by a provider to recover assigned first-party no-fault benefits, the Civil Court awarded judgment to plaintiff in the principal sum of $1,420.&lt;/p&gt; 

&lt;p&gt;"The filing of a timely affidavit providing the MVAIC with notice of intention to file a claim is a condition precedent to the right to apply for payment from [MVAIC]. Compliance with the statutory requirement of timely filing a notice of claim must be established in order to demonstrate that the claimant is a covered person, within the meaning of the statute, entitled to recover no-fault benefits from the MVAIC" (&lt;a href="../2016/2016_51535.htm" target="_blank"&gt;&lt;i&gt;Avicenna Med. Arts, P.L.L.C. v MVAIC&lt;/i&gt;, 53 Misc 3d 142&lt;/a&gt;[A], 2016 NY Slip Op 51535[U], *1 [App Term, 2d Dept, 2d, 11th &amp;amp; 13th Jud Dists 2016] [internal quotation marks and citation omitted]; &lt;i&gt;see&lt;/i&gt; Insurance Law &nbsp;5208 [a] [1], [3]; 5221 [b] [2]). As plaintiff did not establish that such an affidavit had been submitted to MVAIC, plaintiff failed to establish its prima facie case (&lt;i&gt;see&lt;/i&gt; Insurance Law &nbsp;5202 [b]; 5208, 5221 [b] [2]). In light of the foregoing, we reach no other issue.&lt;/p&gt; 

&lt;p&gt;Accordingly, the judgment is reversed and the matter is remitted to the Civil Court for the entry of a judgment in favor of defendant dismissing the complaint.&lt;/p&gt; 

&lt;p&gt;PESCE, P.J., WESTON and ALIOTTA, JJ., concur.&lt;/p&gt; 

&lt;br&gt;ENTER: 

&lt;br&gt;Paul Kenny 

&lt;br&gt;Chief Clerk 

&lt;br&gt;Decision Date: August 02, 2019 

 

 

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&lt;/partyblock&gt;



